




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS






ERNESTO RAMOS,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-09-00113-CR



Appeal from the


186th District Court

of Bexar County, Texas 


(TC# 2005-CR-1727)




MEMORANDUM OPINION



	Pending before the Court is a motion to dismiss filed by the Appellant pursuant to
Tex.R.App.P. 42.2(a).  Appellant has personally signed the withdrawal of the notice of appeal and
has filed it filed prior to the appellate court's decision.  Further, Appellant filed a duplicate copy of
the motion with this Court and that copy has been forwarded to the trial court clerk.  Because
Appellant has established compliance with the requirements of Rule 42.2(a), we dismiss the appeal. 


September 30, 2009					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


